








							



	



	



NUMBERS 13-08-275-CR, 13-08-276-CR,
13-08-277-CR


COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      


JESSE OLSEN, 						                   Appellant,


v.



THE STATE OF TEXAS,						           Appellee.

                                                                                                                      


On appeal from the 319th District Court 

of Nueces County, Texas.

                                                                                                                      


MEMORANDUM OPINION


Before Justices Rodriguez, Garza, and Vela


Memorandum Opinion by Justice Vela


	Appellant, Jesse Olsen, was indicted for the criminal offenses of robbery, (1)
possession with intent to deliver cocaine, (2) and burglary of a habitation. (3)  On April 7, 2008,
Olsen pleaded guilty to all offenses and pleaded true to all enhancement paragraphs in the
indictments in which it was alleged that he was a repeat felony offender. (4)  The trial court
assessed punishment at concurrent 75 year sentences on all cases.  Concluding that
"there are no meritorious issues for appeal," appellant's counsel filed a brief in which he
reviewed the merits, or lack thereof, of the appeals.  The State has not filed a brief.  We
affirm.

I.  Compliance with Anders v. California

	Appellant's court-appointed counsel filed an Anders brief in which he has concluded
that there are no appealable issues for this Court to consider.  See Anders v. California,
386 U.S. 738, 744 (1967).  Appellant's brief meets the requirements of Anders.  See id. at
744-45; High v. State, 573 S.W.2d 807, 812 (Tex. Crim. App. [Panel Op.] 1978).  In
compliance with Anders, following his review of the court's file and the transcripts, his
research, and his correspondence with appellant, counsel presented a professional
evaluation of the record including, among other things, a review of grand jury proceedings,
pre-trial motions, research and investigation, competency, sentencing, right to present
evidence during the guilt/innocence and punishment stages, and right to appeal.  See
Anders, 386 U.S. at 744; Currie v. State, 516 S.W.2d 684, 684 (Tex. Crim. App. 1974); see
also High, 573 S.W.2d at 812.

         Counsel has informed this Court that he has reviewed the appellate record and
concluded there are no arguable grounds for reversal.  He has also informed this Court that
he has provided appellant with a copy of the transcripts in his case and notified appellant
of his right to review the record and to file a pro se response to counsel's brief and motion
to withdraw.  See Anders, 386 U.S. at 744-45; see also Stafford v. State, 813 S.W.2d 503,
509 (Tex. Crim. App. 1991) (en banc); High, 573 S.W.2d at 813.  More than thirty days
have passed, and no pro se brief has been filed. 

II. Independent Review

	The United States Supreme Court advised appellate courts that upon receiving a
"frivolous appeal" brief, they must conduct "a full examination of all the proceedings to
decide whether the case is wholly frivolous."  Penson v. Ohio, 488 U.S. 75, 80 (1988); see
Ybarra v. State, 93 S.W.3d 922, 926 (Tex. App.-Corpus Christi 2003, no pet.). 
Accordingly, we have carefully reviewed the record and have found nothing that would
arguably support an appeal.  See Bledsoe v. State, 178 S.W.3d 824, 826 (Tex. Crim. App.
2005); Stafford, 813 S.W.2d at 509.  We agree with counsel that the appeals are wholly
frivolous and without merit.  See Bledsoe, 178 S.W.3d at 827-28 ("Due to the nature of
Anders briefs, by indicating in the opinion that it considered the issues raised in the briefs
and reviewed the record for reversible error but found none, the court of appeals met the
requirements of Texas Rule of Appellate Procedure 47.1.").



III. Conclusion

	The judgments of the trial court are affirmed.  Additionally, counsel's motion to
withdraw as appellate counsel is hereby granted.  We order counsel to notify appellant of
the disposition of these appeals and of the availability of discretionary review.  See In re
K.D., S.D., and J.R., 127 S.W.2d 66, 68 n.3 (Tex. App.-Houston [1st Dist.] 2003, no pet.)
(citing Ex parte Wilson, 956 S.W.2d 25, 27 (Tex. Crim. App. 1997) (en banc) (per curiam)).

	

	

																			ROSE VELA

							Justice



Do not publish.				

Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and 

filed this 26th day of February, 2009.	

	
1. See Tex. Penal Code Ann. § 29.02 (Vernon 2006).
2. See Tex. Health &amp; Safety Code Ann. § 481.002 (Vernon 2006). 
3. See Tex. Penal Code Ann. § 30.02 (Vernon 2006).
4. See id. § 12.42 (Vernon 2006).


